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                                                        Wednesday, 20 September, 2006 11:03:12 AM
                                                                      Clerk, U.S. District Court, ILCD

                               UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF ILLINOIS
                                     URBANA DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                               Plaintiff,     )
                                              )
                    v.                        )                  No. 06-20032-03
                                              )
CLINTON WILLIAMS,                             )
                                              )
                             Defendant.       )

              ORDER APPROVING MAGISTRATE RECOMMENDATION

       On August 29, 2006, a report and recommendation was filed by United States Magistrate

Judge David G. Bernthal in the above cause. More than ten (10) days have elapsed since the filing

of the recommendation and no objections have been made. See 28 U.S.C. § 636(b)(1).

       This court therefore approves the recommendation of the Magistrate Judge. See Video

Views, Inc. v. Studio 21, Ltd., 797 F.2d 538 (7th Cir. 1986). Accordingly, pursuant to 18 U.S.C.

§ 4241, the defendant, Clinton Williams, is hereby found mentally competent to stand trial. This

matter remains set for final pretrial conference and a hearing on all pending motions at 10:00 a.m.,

October 19, 2006, and for jury selection and jury trial at 9:00 a.m., October 30, 2006.

                          ENTERED this 20th day of September, 2006

                                   s/ Michael P. McCuskey
                                  MICHAEL P. McCUSKEY
                                 CHIEF U.S. DISTRICT JUDGE
